EXHIBIT 13
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

HUAWEI TECHNOLOGIES CO. LTD,                     §
                                                 §
v.                                               §    Case No. 2:16-CV-00052-JRG-RSP
                                                 §
T-MOBILE US, INC., T-MOBILE U.S.A.,              §
INC.                                             §

                             ORDER ON MOTIONS IN LIMINE

       The parties’ joint motions in limine, Dkt. 297, the motions in limine filed by Plaintiff

Huawei Technologies Co. LTD. (“Huawei”), Dkt. 304, and the motions in limine filed by

Defendants T-Mobile US, Inc. and T-Mobile U.S.A. Inc. (collectively, “T-Mobile”) and

Intervenors, Dkt. 302, are resolved as follows. A party must approach the bench before introducing

evidence or argument about the subject matter of a granted motion in limine.

                                              * * *

                           I. Joint Motions In Limine (GRANTED)

                                              MIL 1

       The parties are precluded from making statements that are inconsistent with the Federal

Judicial Center’s patent video, and from praising or criticizing the performance, reliability, or

credibility of the USPTO or the examiners that work at the USPTO. The parties are not precluded

from introducing evidence that a particular prior art reference was or was not considered during

prosecution of an asserted patent. The parties are also not precluded from arguing that an asserted

claim is valid or invalid, or from making statements consistent with the Federal Judicial Center’s

patent video.




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                                               MIL 2

       The parties are precluded from making statements referring to mock trials, jury research,

jury consultants, or shadow juries.

                                               MIL 3

       No party shall reference or imply problems with intellectual property protection in China

(e.g., that China does not adequately protect U.S. intellectual property).

                                               MIL 4

       No party shall reference or imply a relationship between Huawei and the Chinese

government.


                                               MIL 5

       No party shall reference the military background of Mr. Ren Zhenfei, the CEO and founder

of Huawei.

                                               MIL 6

       No party shall refer to any party’s closure of offices or businesses in the United States.

                                               * * *

                                II. Huawei’s Motions In Limine

                                               MIL 1

       GRANTED BY RECIPROCAL AGREEMENT. The parties are precluded from

presenting evidence or argument regarding the petition for, or outcome of, inter partes review

(IPR) proceedings, including any decisions to institute or not institute review. The parties are not

precluded from presenting evidence or argument regarding statements made by the parties to the

Patent Trial and Appeal Board (PTAB) in IPR proceedings to the extent the statements are




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admissible under the Federal Rules of Evidence. The parties shall refer to any such statements as

statements “made to the Patent Office,” without identifying the existence of IPR proceedings.

                                              MIL 2

       GRANTED IN PART and DENIED IN PART. Whether Huawei complied with FRAND

obligations is relevant to this case, and the Court will not preclude T-Mobile from presenting

evidence or argument regarding the fact that T-Mobile filed a trade secret theft lawsuit against

Huawei and how that lawsuit may have triggered or provided motive for Huawei’s allegedly

discriminatory conduct. Details of the lawsuit itself, including details regarding the underlying

trade secret theft allegations, and the merits and outcome of the lawsuit, may not be presented. See

Fed. R. Evid. 403.

                                              MIL 3

       CARRIED. The parties dispute whether a Huawei document originally written in Chinese

refers to Huawei patents or patent applications not disclosed to ETSI as “lurking patents,” as T-

Mobile’s translation suggests, or “embedded patents,” as Huawei’s translation suggests. Huawei

moves to exclude reference to “lurking patents” because according to Huawei, that phrase is “both

incorrect and highly prejudicial given the correct translation of ‘embedded patents.’” Dkt. 304 at

3. T-Mobile’s reference to “lurking patents,” however, would not be unfairly prejudicial if Huawei

in fact used the Chinese equivalent of that phrase. Accordingly, the dispute will be resolved in the

context of any objections to the admission of the translated document as an exhibit.

       Whether T-Mobile’s translation is admissible appears to depend solely on whether the

translation is authentic because the document is not hearsay. See Fed. R. Evid. 802(d)(2). A written

translation is authentic if there is “evidence sufficient to support a finding that the matter in

question is what its proponent claims.” See Trapaga v. Cent. States Joint Bd. Local 10, No. 05 C



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5742, 2007 WL 1017855, at *7 (N.D. Ill. Mar. 30, 2007) (quoting Fed. R. Evid. 901(a)). The

proponent is required to offer evidence showing that the document was properly translated by a

competent translator. See id.

       If T-Mobile’s translation is admissible, T-Mobile may refer to “lurking patents” because

there will be record evidence to support that characterization. Although Huawei’s translation refers

to “embedded patents,” the question of which translation is most accurate is a credibility

determination, and hence a question for the fact finder. See, e.g., Mitsubishi Chem. Corp. v. Barr

Labs., Inc., 435 F. App’x 927, 932 (Fed. Cir. 2011); Hodosh v. Block Drug Co., Inc., 786 F.2d

1136, 1142-43 (Fed. Cir. 1986); U.S. v. Onori, 535 F.2d 938, 946 (5th Cir. 1976); U.S. v. Linas,

603 F.2d 506, 509 (5th Cir. 1979) (“If the government’s translation was inaccurate, it was

petitioner’s burden to challenge its accuracy by presenting another translation, so that the jury

could choose which to believe.”). Thus, if the parties wish to pursue this dispute at trial, either

party may bring a witness or evidence establishing that its respective translation is the correct one.

                                               MIL 4

       GRANTED under Rule 403. T-Mobile and Intervenors must approach the bench before

presenting evidence or argument regarding any government investigation concerning Huawei or

the results of any such investigation, including any reference to the Congressional Report

discussed at the pretrial conference.

       Huawei is cautioned not to open the door to such evidence. Addressing issues raised at the

pretrial conference, the door may be opened if:

       (1) Huawei presents evidence or argument that Huawei generally respects intellectual

           property rights or has a general practice to not steal or infringe others’ intellectual

           property.



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        (2) Huawei presents evidence or argument that its United States subsidiary is independent

            from its Chinese parent company, or that Huawei is an “American” company.

        Huawei will likely not open the door to evidence or argument concerning any government

investigation if Huawei presents evidence or argument that merely suggests that:

        (1) Huawei is “innovative” inasmuch as Huawei was responsible for the inventions

            claimed in the patent(s)-in-suit or that Huawei has been “innovative” in contributing to

            the relevant cellular standards, such as the LTE standard, because Huawei owns patents

            it alleges are essential to the standard.

        (2) Huawei is an “ethical” company generally.

        (3) Huawei relies on its Research & Development.

                                                MIL 5

        GRANTED-IN-PART and DENIED-IN-PART. While reference to related cases would

ordinarily be precluded under Rule 403, the cases related to this action, 2:16-cv-00055, -56, and -

57, are integral, and in fact necessary, to T-Mobile and Intervenors’ response to Dr. Vander Veen’s

damages opinion. Accordingly, reference to the related cases is not precluded. The motion is

granted as to as other litigation.

        With respect to the Unwired Planet case, T-Mobile seeks to reference statements made by

Huawei’s counsel concerning the ETSI Policy. T-Mobile refers to the following three statements:

               In short, it is wholly inconsistent both with the express terms of the
                FRAND undertaking and with its underlying purpose for an SEP
                owner to refuse to license an SEP unless the licensee also takes a
                license under all of the SEP owner’s other telecommunications
                patents (whether SEPs and non-SEPs or just SEPs) on a global “all
                or nothing” basis.

Dkt. 357-9 at 21.




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                Specifically, an SEP holder should not seek an injunction against a
                 willing licensee, nor should the threat of an injunction be used as a
                 means to extract higher royalties and/or other concessions from a
                 locked-in implementer of a standard. In determining FRAND rates,
                 any uplift which has been obtained as a result of an explicit or
                 implicit threat of an injunction must be discounted.

Id. at 17.

                Second, the ownership of an SEP will, or may, give rise to a
                 dominant position on a market for the supply or licensing of the
                 technology governed by that SEP and/or on related markets. That
                 dominant position may be abused by the holder of the SEP, contrary
                 to Article 102 TFEU, by its refusing to license that SEP and/or by it
                 demanding excessive and unreasonable terms for such a license, and
                 thus engaging in what has become known as “patent hold up.”

Id. at 5.

        There are at least two concerns with these statements. First, the statements were made by

Huawei’s attorney and as a result, they may be hearsay. Statements of fact relevant to a dispute,

made by a lawyer for a party in the course of the representation, are sometimes admitted against

the party.1 However, courts are reluctant to admit attorney statements as evidence, limiting their

admissibility, for example, to “clear and unambiguous admission[s] of fact.” See Kowalski v.

Anova Food, LLC, No. CIV. 11-00795HG-RLP, 2015 WL 1117993, at *2 (D. Haw. Feb. 12, 2015)

(quoting Blood, 806 F.2d at 1221). The statements by Huawei’s attorneys concern legal argument

rather than a clear admission of fact, and thus the Court is not convinced the statements would be

admissible under Rule 801(d)(2)(D) or as judicial admissions.

        Second, even if the statements were not hearsay, the statements were made by a foreign

attorney in a foreign dispute. Although the statements relate to a similar issue as that disputed in


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  See, e.g., Coughlin v. Capitol Cement Co., 571 F.2d 290, 306 n.29 (5th Cir. 1978); United States
v. Blood, 806 F.2d 1218, 1221 (4th Cir. 1986); United States v. McKeon, 738 F.2d 26, 30 (2d
Cir.1984); Frank v. Bloom, 634 F.2d 1245, 1251 (10th Cir.1980) Reaves v. Pennsylvania State
Police, No. 1:09-CV-2549, 2013 WL 5411952, at *2 (M.D. Pa. Sept. 26, 2013); Weaver v. Conrail,
Inc., No. CIV.A 09-5592, 2010 WL 2773382, at *8 (E.D. Pa. July 13, 2010).
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this case, it is not clear that the governing legal authority is the same. The third statement, for

example, refers to Article 101(1) of the Treaty on the Functioning of the European Union

(“TFEU”). As a result, the statements present a significant risk of jury confusion and unfair

prejudice. See Fed. R. Evid. 403. Accordingly, on the basis of Rule 403, T-Mobile may not present

evidence or argument referencing statements made by Huawei’s attorney in the Unwired Planet

case. If T-Mobile believes the door has been opened to such evidence at trial, T-Mobile may

approach the bench.

          This ruling does not apply to any declaration or testimonial evidence from a related

proceeding, including the Unwired Planet case, that may be admissible for impeachment purposes

or as substantive evidence. The Court will address objections to any such evidence at the next

pretrial conference on exhibits.

                                               MIL 6

          GRANTED-IN-PART and DENIED-IN-PART. T-Mobile may not argue that an

inference should be drawn from the fact that certain patents were once asserted but are no longer

asserted. The motion is otherwise denied. The court ordinarily precludes reference to dropped

patents to encourage the practice of narrowing disputes for trial. And while reference to a party’s

decision to narrow its case is typically precluded under Rule 403, the patents dropped in this action

are integral to T-Mobile and Intervenors’ response to Dr. Vander Veen’s damages opinion.

                                               MIL 7

          GRANTED-IN-PART BY AGREEMENT and DENIED-IN-PART. T-Mobile and

Intervenors agree not to disparage Huawei or any of Huawei’s witnesses because of their Chinese

nationality or the fact that they are not “American” or “un-American.” The motion is otherwise

denied.



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                                               MIL 8

       DENIED.

                                               MIL 9

       GRANTED-IN-PART and DENIED-IN-PART. The parties will not present evidence or

argument before the jury that is only relevant to an equitable issue (absent agreement between

counsel). Any evidence or argument related to T-Mobile’s counterclaims and affirmative defenses,

however, that is relevant to both a jury issue and an equitable issue, is not precluded.

                                              MIL 10

       GRANTED-IN-PART and DENIED-IN-PART. T-Mobile and Intervenors may not

present improper evidence or argument comparing an accused product to the prior art for purposes

of establishing noninfringement or invalidity. Additionally, T-Mobile and Intervenors may not

present improper evidence or argument that Huawei’s infringement theories read on or encompass

the prior art. T-Mobile and Intervenors may, however, present evidence or argument that there are

contradictions or inconsistencies between Huawei’s infringement theories and Huawei’s validity

theories.

                                              MIL 11

       DENIED.

                                              MIL 12

       WITHDRAWN for purposes of Case No. 2:16-cv-00052.

                                              MIL 13

       WITHDRAWN as to the Nokia source code. DENIED as to the Cisco source code. As

the Court has already explained, the Cisco source code was produced after the close of discovery,

but the code did not exist during the discovery period. See Dkt. 346 at 2. Huawei’s motion in limine



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raises precisely the same issue the Court considered and rejected in a prior Order. See id. If Huawei

had wanted to minimize any prejudice resulting from the lateness of the Cisco source code, it could

have pursued a supplemental report or other accommodation, which T-Mobile offered. See id.

                                              MIL 14

       DENIED AS MOOT.

                                              MIL 15

       WITHDRAWN for purposes of Case No. 2:16-cv-00052.

                                              MIL 16

       GRANTED-IN-PART BY RECIPROCAL AGREEMENT and DENIED-IN-PART.

The parties agree not to present evidence or argument that any foreign patent application related

to the patent(s)-in-suit was withdrawn from prosecution, rejected as unpatentable, or not issued.

The motion is otherwise denied.

                                              MIL 17

       GRANTED-IN-PART and DENIED-IN-PART. T-Mobile and Intervenors may not

argue that Huawei has a policy to compensate employees for not disclosing patents or patent

applications to a standard setting organization that are or might be essential to a standard. The

motion is otherwise denied.

                                              MIL 18

       GRANTED BY AGREEMENT. T-Mobile and Intervenors agree not to disparage

Huawei or any witness on the basis of the witness’s native language or the witness’s choice to

testify in the witness’s native language.

                                              MIL 19

       WITHDRAWN for purposes of Case No. 2:16-cv-00052.



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          DENIED.

                                               * * *

                       III. T-Mobile and Intervenors’ Motions In Limine

                                               MIL 1

          GRANTED-IN-PART BY AGREEMENT and otherwise DENIED. Experts are

confined to their written reports. Any expert testimony concerning a new technical theory, for

example, or any other expert testimony related to a claim or defense, may not be offered at trial

unless it was disclosed in the expert’s written report. See Fed. R. Civ. P. 26(a)(2)(B); Fed. R. Civ.

P. 37(c)(1).

                                               MIL 2

          GRANTED-IN-PART and DENIED-IN-PART AS MOOT. Huawei may not inquire

into privileged communications related to T-Mobile’s decision to deploy an MME product that

does not include the Cause Source bit allegedly within the scope of the ’462 patent claims. As for

the dispute relating to the ’365 and ’617 patents, the motion is denied as moot in light of the joint

stipulation to drop those two patents. See Dkt. 422.

                                               MIL 3

          GRANTED IN PART and DENIED IN PART. Huawei may not present evidence or

argument that the benefits from the asserted patent(s) are derived from “the value of the standard

as a whole or any increased value the patented feature gains from its inclusion in the standard.”

Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1235 (Fed. Cir. 2014). The motion is otherwise

denied.




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                                              MIL 4

       GRANTED BY RECIPROCAL AGREEMENT. See Huawei MIL 1.

                                              MIL 5

       WITHDRAWN for purposes of Case No. 2:16-cv-00052.

                                              MIL 6

       GRANTED-IN-PART and DENIED-IN-PART. Huawei may not introduce evidence or

argument disclosing T-Mobile’s past annual revenue, estimated future annual revenue, or overall

capital expenditures. Similarly, Huawei may not argue through a demonstrative or otherwise that

the royalty rate it seeks is only a “fraction,” “small percentage,” etc., of T-Mobile’s average

revenue per customer per month, or otherwise compare the royalty rate to any revenue other than

Dr. Vander Veen’s estimation of T-Mobile’s revenue per customer per month attributable solely

to LTE technology. See LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67-68 (Fed.

Cir. 2012). Dr. Vander Veen may explain how he calculated the revenue per customer per month

attributable to the LTE network from his starting estimate of the average revenue per customer per

month. See Vander Veen Rep. ¶ 145, Dkt. 302-4.

                                              MIL 7

       DENIED.

                                              MIL 8

       GRANTED. Huawei may not argue that T-Mobile knew, should have known about, or

had any duty to investigate any patent-in-suit before the lawsuit was filed. Huawei contends,

apparently for purposes of willfulness, that a letter Huawei sent T-Mobile identifying the ’365 and

’617 patents gave rise to a duty to investigate the other patents-in-suit, and thus T-Mobile knew or

should have known about those patents.



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       A party’s failure to exercise due care in investigating patents is unquestionably insufficient

to support a finding of willfulness. Willfulness requires conduct that has been described as “willful,

wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—

characteristic of a pirate.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932 (2016). A

prerequisite to such conduct is, at minimum, an accused infringer’s subjective belief that he is

infringing a valid patent. See Erfindergemeinschaft UroPep GbR v. Eli Lilly & Co., 240 F. Supp.

3d 605, 618 (E.D. Tex. 2017) (Bryson, J., sitting by designation). Huawei admitted at the pretrial

conference that it had no evidence of T-Mobile’s knowledge of any patent other than the ’365 and

’617 patents, which are no longer in the case. See Dkt. 422. By definition, then, Huawei cannot

show that T-Mobile willfully infringed any other patents. Even knowledge of an asserted patent,

without more, cannot support a willfulness finding. See Erfindergemeinschaft UroPep GbR v. Eli

Lilly & Co., No. 2:15-CV-1202-WCB, 2017 WL 2190055, at *3 (E.D. Tex. May 18, 2017)

(Bryson, J., sitting by designation).

                                               MIL 9

       GRANTED. Huawei may not present evidence or argument that Huawei has an internal

policy (“IPOS Patent and Standard Work Instruction”, Dkt. No. 282-18) requiring or encouraging

compliance with ETSI disclosure obligations because Huawei has withheld on the basis of

privilege the communications that are required by the policy. The Court has reviewed the policy

and finds that discussing it would cause the jury to assume that the required communications were

made and that they support Huawei’s contention that it did make timely disclosure. Such an

inference would constitute an improper comment on communications as to which the attorney-

client privilege has been claimed.




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                                            MIL 10

       GRANTED. Huawei may not present evidence or argument that T-Mobile or Intervenors

“copied” the patent(s)-in-suit or are otherwise “copyists”. This ruling does not preclude Huawei

from presenting evidence or argument that T-Mobile complied with the relevant cellular standard.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 29th day of September, 2017.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE




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